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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

                                       :
HARRY J. WILLIAMS
                                       :

     v.                                :   Criminal No. DKC 10-0102
                                           Civil Action No. DKC 11-0950
                                       :
UNITED STATES OF AMERICA
                                       :

                              MEMORANDUM OPINION

     Presently pending and ready for resolution in this case is

a motion filed by Petitioner Harry J. Williams to vacate, set

aside, or correct his sentence pursuant to 28 U.S.C. § 2255.

(ECF No. 181).      The issues are fully briefed and the court now

rules pursuant to Local Rule 105.6, no hearing being deemed

necessary.     For the reasons that follow, Petitioner’s motion

will be denied.1

I.   Background

     On March 10, 2010, the grand jury returned an indictment

charging   Petitioner    and     two   co-defendants    with    submitting    a

false claim to the Internal Revenue Service in violation of 18

U.S.C. § 287.      Following his initial appearance, Petitioner was

conditionally released pending trial.            At a March 30 attorney




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       Petitioner has also filed seven motions to expedite a
ruling on his motion. (ECF Nos. 183, 192, 196, 197, 198, 199,
200). These motions will be denied as moot.
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inquiry      hearing,      he    declined         legal      representation,          opting

instead to proceed pro se.

       By a superseding indictment filed on May 26, 2010, the

grand jury charged Petitioner and Thomas Arrona Johnson with one

count of conspiring to defraud the United States, in violation

of 18 U.S.C. § 286, and eight counts of submitting false claims,

in violation of 18 U.S.C. § 287.                      Petitioner appeared before a

magistrate judge for arraignment on the superseding indictment

on    June   3,    at   which    time     the     indictment     was     formally       read,

Petitioner entered a plea of not guilty, and reiterated his

desire to represent himself.

       On July 23, Petitioner filed a document entitled “Action in

Quo    Warranto”        (ECF    No.    84)2     and    a     motion    to     dismiss      the

superseding        indictment         (ECF    No.     85).       In      both    of     these

documents,        Petitioner     advanced         arguments     typically       associated

with so-called “flesh and blood” ideology – colloquially named

for the distinction professed by adherents between the accused

named in the indictment and the “flesh and blood” person of the

defendant     himself.          These     arguments,         unfortunately,        are     not

novel in this court.            See, e.g., United States v. Mitchell, 405


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       “Quo warranto is addressed to preventing a continued
exercise of authority unlawfully asserted[.]”  Allah v. Linde,
No. C07-827-JLR, 2008 WL 1699441, at *1 (W.D.Wash. Apr. 10,
2008).   Such a proceeding “can be brought only by the United
States, and not by private individuals.” Id. (citing Johnson v.
Manhattan Ry. Co., 289 U.S. 479, 502 (1933)).
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F.Supp.2d 602, 603-05 (D.Md. 2005) (discussing the origin and

characteristics       of   these        beliefs).        They      are      generally

characterized        by    the     defendant’s        insistence         on     self-

representation;       refusal      to     acknowledge       his       name     and/or

signature; purporting not to understand the plain language of

legal    instruments;      and    repeated      challenges      to    the     court’s

jurisdiction.         Consistent       with   these    practices,        Petitioner

argued    in   his    motion      to    dismiss     that    the      “court     lacks

jurisdiction in personam [general & specific] and subject matter

to make any valid adjudications other than dismissing the case”

because he is “not a corporate citizen of the United States

Inc.”     (ECF No. 85, at 2).            He further “demand[ed] that this

case be dismissed as the prosecution has no merits in its claims

that are based in law” and that “[i]f the court believes that it

does have jurisdiction it must provide evidence and proof of

such in written form or official testimony[.]”                  (Id. at 3).

        The court denied the motion to dismiss by a memorandum

opinion and order issued July 29, 2010.                    (ECF Nos. 91, 92).

Regarding Petitioner’s jurisdictional challenge, it explained:

                 To the extent that Mr. Williams’ motion
            is    intelligible,    he   challenges   the
            jurisdiction of the court over him and seeks
            dismissal of the indictment as lacking in
            merit.   Pursuant to 18 U.S.C. § 3231, this
            court has jurisdiction over all persons
            alleged to have violated the laws of the
            United States.      He was properly brought
            before the court based on the indictment and

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               superseding indictment charging him with
               violations of federal law. United States v.
               Marks, 530 F.3d 799, 810-11 (9th Cir. 2008).
               Furthermore,    the    government    need not
               preliminarily    demonstrate    that   it has
               evidence to proceed, nor will the court
               examine the evidence presented to the grand
               jury.   United States v. Klecker, 348 F.3d
               69, 73 (4th Cir. 2003) (citing Costello v.
               United States, 350 U.S. 359, 363 (1956)).
               The   superseding    indictment   clearly and
               validly charges the offenses of conspiracy
               to make false claims under 18 U.S.C. § 287.

(ECF     No.      91,    at   3).      Petitioner          promptly     moved       for

reconsideration (ECF No. 94), and that motion was denied on the

record prior to the start of trial.

       The case proceeded to a jury trial on August 3, 2010.                        On

August 11, the jury returned a verdict finding Petitioner guilty

on all counts.          Sentencing was scheduled for November 15, 2010.

When Petitioner failed to appear on that date, he was sentenced

in absentia to concurrent terms of imprisonment of sixty and

seventy-two months, to be followed by three years of supervised

release.        (ECF    No.   138).    A   $900.00       special    assessment      was

imposed     and    Petitioner    was   ordered      to    pay   $1,149,170.19       in

restitution.

       Petitioner did not appeal.              Instead, he filed, on April 12,

2011, the pending motion pursuant to 28 U.S.C. § 2255.                      (ECF No.




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181).3       The Government opposed on June 22, 2011 (ECF No. 188),

and Petitioner replied eight days later (ECF No. 191).

II.   Standard of Review

        Title    28,       §    2255       requires    a    petitioner        to    prove    by   a

preponderance of the evidence that “the sentence was imposed in

violation of the Constitution or laws of the United States, or

that the court was without jurisdiction to impose such sentence,

or that the sentence was in excess of the maximum authorized by

law.”       A pro se petitioner, such as Mr. Williams, is, of course,

entitled        to    have           his   arguments        reviewed        with    appropriate

consideration.             See Gordon v. Leeke, 574 F.2d 1147, 1151-53 (4th

Cir. 1978).          Where, however, a § 2255 petition, along with the

files and records of the case, conclusively shows the petitioner

is    not     entitled          to     relief,     a       hearing     on     the       motion    is

unnecessary          and       the    claims    raised       therein    may        be    dismissed

summarily.       28 U.S.C. § 2255(b).

III. Analysis

        Petitioner         continues          to   press       his     “flesh       and     blood”

ramblings in the instant motion, arguing generally that “[t]he

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       This was the third such motion filed by Petitioner. The
first, filed approximately three weeks after the verdict (ECF
No. 116), was denied without prejudice as premature (ECF No.
142).   The second, filed December 2, 2010, was submitted by
Petitioner’s wife, Karita Kirk-Williams, who purportedly had
power of attorney conveyed to her by Petitioner in August 2010.
(ECF No. 150). The court subsequently denied Ms. Kirk-Williams
leave to proceed as Petitioner’s next-friend and dismissed the §
2255 motion filed by her without prejudice. (ECF No. 178).
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court was deprived of subject matter jurisdiction due to due

process violations and fraud on the court.”                       (ECF No. 181, at 2

(emphasis removed)).            The vast majority of the specific grounds

he raises, however, have no bearing on the court’s jurisdiction.

Rather, they relate largely to evidentiary concerns rooted in

Petitioner’s fanciful notions that documentary evidence admitted

by the government at trial was somehow inauthentic and/or that

the   government’s        witnesses       were    incompetent.           Petitioner      was

required to pursue these claims on direct appeal, if at all, and

his failure to do so, or to show cause and prejudice or actual

innocence, renders them procedurally barred in the context of

the instant motion.            To the extent that he raises jurisdictional

concerns that may be cognizable, his arguments are virtually

identical        to    those    raised     in     his     motion     to    dismiss       the

superseding indictment and fail for the same reasons.

      The ordinary rule is that “an error can be attacked on

collateral review only if first challenged on direct review.”

United States v. Harris, 183 F.3d 313, 317 (4th Cir. 1999); see

also United States v. Sanders, 247 F.3d 139, 144 (4th Cir. 2001)

(“[h]abeas review is an extraordinary remedy and will not be

allowed     to    do     service    for    an     appeal”      (internal      marks      and

citation     omitted)).            Where     a    petitioner        has     procedurally

defaulted    a        constitutional      claim    by    failing     to    raise    it    on

direct appeal, it may be raised for the first time in a § 2255

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motion only upon a showing of either “cause and actual prejudice

resulting      from     the   errors    of     which       he   complains,”       or    a

demonstration that “a miscarriage of justice would result from

the refusal of the court to entertain the collateral attack.”

United States v. Mikalajunas, 186 F.3d 490, 492-93 (4th Cir.

1999).

        A showing of cause for a procedural default “must turn on

something external to the defense, such as the novelty of the

claim     or   a   denial      of   effective          assistance       of    counsel.”

Mikalajunas, 186 F.3d at 493.                 To establish actual prejudice,

the petitioner must show that the error worked to his “actual

and   substantial       disadvantage,”        rather    than    merely       creating   a

possibility of prejudice.           Murray v. Carrier, 477 U.S. 478, 494

(1986).     A petitioner demonstrates that a miscarriage of justice

would    result    if   the    court    does    not     consider    a     procedurally

defaulted      claim    by    showing    “actual       innocence      by     clear     and

convincing evidence” – in other words, “actual factual innocence

of the offense of conviction,                 i.e., that petitioner did not

commit the crime of which he was convicted[.]”                     Mikalajunas, 186

F.3d at 493-94.

        Petitioner initially argues that the “[i]ndictment failed

to state a crime” insofar as it “failed to allege any facts by

and     through    a    witness     competent         to    testify      .    .   .     to

authenticated evidence to show that a violation of federal law

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had occurred under any statutory authority.”                          (ECF No. 181, at

2).    He further contends that the arraignment on the superseding

indictment was improper because it was conducted by a magistrate

judge, and that this proceeding was, in effect, an attempt to

cover-up      unspecified         deficiencies       in   the        records        of   prior

proceedings; that his constitutional right to a speedy trial was

violated; that his constitutional right to confront witnesses

was violated; that he was not provided with advance copies of

the    government’s          trial    exhibits,       “which         as   a        matter    of

substantive due process were required to be authenticated and

indexed and tabbed” (id. at 4); that certain evidence was not

properly authenticated; that the court violated his due process

rights by “not enforcing a subpoena of a necessary witness” and

that “the prosecution excluded exculpatory evidence . . . by

disregarding [his] subpoena” (id. at 5); and that the court

“fail[ed]      to    give    proper       administrative       review”        of    specified

administrative documents (id.).

       Each    of    these       claims    could   have   been       raised        on    direct

appeal,       and    it     is    undisputed       that   no    appeal         was       filed.

Petitioner, therefore, bears the burden of either showing cause

and actual prejudice resulting from the alleged errors or that

he    is   actually       innocent     of    the   crimes      for    which        he    stands

convicted.          He has made no such showing, nor could he based on

the instant record.

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          The    only        claim         that     is        potentially          cognizable      is

Petitioner’s argument that a defect in the indictment divested

the court of subject matter jurisdiction.                                 “An indictment only

affects the Court’s jurisdiction if it is so insufficient that

it completely fails to charge an offense.”                                    United States v.

Boyd, 259 F.Supp.2d 699, 708 (W.D.Tenn. 2003) (citing United

States v. Prince, 868 F.2d 1379, 1384 (5th Cir. 1989)).                                     Such an

allegation         may       be    cognizable          in    a    §    2255   petition      because

“subject-matter jurisdiction can never be forfeited or waived .

.     .    [and]       any        action    by     a        court     without      subject-matter

jurisdiction           is    ‘ultra        vires’       and      therefore        void.”     United

States v. Hartwell, 448 F.3d 707, 715 (4th Cir. 2006) (internal

marks and citations omitted).

          Pursuant to Federal Rule of Criminal Procedure 7(c), “[t]he

indictment . . . must be a plain, concise, and definite written

statement        of      the       essential       facts         constituting        the    offense

charged and must be signed by an attorney for the government.”

“To       meet   the     demands      of     the    Fifth        and    Sixth      Amendments,     an

indictment must (1) contain the elements of the charged offense

and fairly inform a defendant of the charges against him, and

(2) enable him to plead double jeopardy in defense of future

prosecutions for the same offense.”                                 United States v. Sutton,

961 F.2d 476, 479 (4th Cir. 1992).                               Petitioner does not allege

that his indictment failed to meet these requirements.                                      Rather,

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he    appears    to   believe   that      something    along      the   lines   of   a

supporting affidavit or declaration was necessary to corroborate

the allegations contained therein.               He points to no authority

for this proposition, however, and the court is not aware of

any.     As noted in the prior opinion denying Petitioner’s motion

to dismiss, “[t]he superseding indictment clearly and validly

charges the offenses of conspiracy to make false claims under 18

U.S.C. § 286 and eight counts of making false claims under 18

U.S.C. § 287.”         (ECF No. 91, at 3).            Petitioner’s argument to

the contrary in the instant motion is patently meritless.

IV.    Conclusion

       For the foregoing reasons, Petitioner’s motion to vacate,

set aside, or correct his sentence will be denied.

       Pursuant to Rule 11(a) of the Rules Governing Proceedings

Under 28 U.S.C. §§ 2254 or 2255, the court is also required to

issue or deny a certificate of appealability when it enters a

final    order    adverse      to   the    applicant.        A      certificate      of

appealability is a “jurisdictional prerequisite” to an appeal

from the court’s earlier order.                United States v. Hadden, 475

F.3d    652,    659   (4th   Cir.   2007).     It     may   issue    “only   if     the

applicant has made a substantial showing of the denial of a

constitutional right.”          28 U.S.C. § 2253(c)(2).             Where a motion

is denied on a procedural ground, a certificate of appealability

will not issue unless the petitioner demonstrates both “(1) that

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jurists of reason would find it debatable whether the petition

states a valid claim of the denial of a constitutional right and

(2) that jurists of reason would find it debatable whether the

district court was correct in its procedural ruling.”                      Rose v.

Lee, 252 F.3d 676, 684 (4th Cir. 2001) (internal quotation marks

omitted).         Petitioner has not satisfied this standard.                      The

court     will,    therefore,    decline    to     issue    a     certificate       of

appealability.

        A separate order will follow.



                                            ________/s/_________________
                                            DEBORAH K. CHASANOW
                                            United States District Judge




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